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                                   UNITED STATES DISTRICT COURT
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                                  CENTRAL DISTRICT OF CALIFORNIA
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  10   PIER’ANGELA SPACCIA,                             Case No. 2:20-CV9310-JVS (LAL)

  11                                   Petitioner,      JUDGMENT
  12                         v.

  13   KATHLEEN ALLISON, Secretary, California

  14   Department of Corrections and Rehabilitation,

  15                                     Respondent.

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  18          Pursuant to the Order Accepting Report and Recommendation of United States
  19   Magistrate Judge,
  20          IT IS ADJUDGED that the Petition is denied and this action is dismissed with prejudice.
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  24   DATED: November 17, 2021            _________________________________________
  25                                             HONORABLE JAMES V. SELNA
                                                 UNITED STATES DISTRICT JUDGE
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